                   Exhibit 3
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                               GREENEVILLE DIVISION

JANE DOES 1-9,

               Plaintiffs,

v.                                                    No: 2:23-cv-00071-TRM-CRW



CITY OF JOHNSON CITY, TENNESSEE, et al.,

               Defendants.


       PLAINTIFFS’ FIRST SET OF INTERROGATORIES AND REQUESTS FOR
         PRODUCTION OF DOCUMENTS TO DEFENDANT TOMA SPARKS


PLEASE TAKE NOTICE that pursuant to Rule 33 and 34 of the Federal Rules of Civil Procedure,
Plaintiffs hereby request that Defendant, Toma Sparks, respond and produce for inspection and

copying responsive documents at the offices of HMC Civil Rights Law, PLLC, 7000 Executive
Center Drive, Suite 320, Brentwood, Tennessee 37027 within thirty (30) days after service of these
interrogatories and requests for production of documents.

                                           I. DEFINITIONS

     1. “COMMUNICATION”            means    written    communications   or   records   of   oral

 communications of any kind that transmit information in the form of facts, ideas, opinions,

 questions, or otherwise. They include electronic communications such as emails, online

 messages, chat logs, mobile messages, talk-to-text messages, machine-generated messages,

 facsimiles, and telephone communications; as well as letters, memoranda, exchanges of written

 or recorded information, in-person meetings, and events attended by Responding Party and its

 representative.

     2. “DOCUMENT” means the term as used in Rule 34(a) of the Federal Rules of Civil
                                                 1

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 Procedure. A draft or non-identical copy is a separate document within the meaning of this term.

     3. “REGARDING” means referring to, reflecting, concerning, or being in a way logically or

 factually connected with the matter discussed.

     4. “SEAN WILLIAMS” OR “WILLIAMS” refers to the person named Sean Christopher

 Williams described in Plaintiffs’ Complaint.

     5. “YOU,” and “YOUR,” means Toma Sparks.

                                         II. INSTRUCTIONS

   1.    Please produce the DOCUMENTS responsive to the numbered requests below that are in

YOUR possession, custody, or control.

   2.    The relevant time period for these Requests is January 1, 2018, to present.

   3.    Construe the terms defined above and the individual requests for production and inspection

broadly, to the fullest extent of their meaning.

   4.    If you file a timely objection to any portion of a request, definition, or instruction, produce

DOCUMENTS responsive to the remaining portion.

   5.    If any DOCUMENT is withheld, in whole or in part, for any reason, including but not

limited to any claim of privilege of any kind, work-product protection, trade secret, confidentiality,

or any basis asserted under Tennessee Code Annotated § 10-7-504, please set forth separately with

respect to each document: (a) a description of the privilege or grounds for confidentiality claimed;

(b) the author(s) of the document (identifying who, if any, are attorneys); (c) the recipient(s) of the

document, including all persons who received copies of the document (identifying who, if any, are

attorneys); (d) the subject or title of the document; (e) the date of creation and/or date the document

was sent; (f) a description of the document as set forth in Rule 26(b)(5)(A)(ii) of the Federal Rules

of Civil Procedure; (g) the Bates range of the document; (h) a redacted version of the document; and

(i) the privilege log reference number. Please produce any privilege log or list in an Excel spreadsheet
                                                   2

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or other format capable of electronic sorting.

   6.    Please produce any purportedly privileged DOCUMENT containing non-privileged material

and redact only the portion purportedly privileged.

   7.    Pursuant to Rule 34(b) of the Federal Rules of Civil Procedure, produce all electronically

stored information in native format (including metadata) whenever possible, or in the format

mutually agreed upon by the parties.

   8.    Because these requests are ongoing, please promptly produce any DOCUMENT

discovered or obtained after the service of these requests.

   9.    Produce all documents in a Bates Stamped Format.

   10. If you are refusing to produce a document on the basis of privilege, please provide a

Privilege Log.

   11. If you are responding to an interrogatory by referring Plaintiffs to a document, please

identify any document with specificity and by Bates range.

                                   III. INTERROGATORIES

   1. Please state where you have been employed for the past ten years, state your job

        title/position/rank, describe your job duties, state who you reported to for the time frame in

        question (including their name and rank) and state your rate of pay and yearly salary for

        each year. If you are retired, state the date of retirement and identify any and all retirement

        benefits you currently receive.

   2. Identify any properties you have had any ownership interest in by address, in the past 10

        years. If you are a partial owner, or there is a lien holder, clarify any other parties who have

        an ownership interest.

   3. State whether you have been a dues paying member of a union or collective bargaining

        association in the past 10 years. If so, identify the dates of membership and the name and

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      address of any such union or CBA.

   4. State whether you were involved in the execution of any search warrants involving Sean

      Williams. If so, list all such warrants, including the date and what was sought in the

      warrant.

   5. State your residential address, (if you maintain more than one residence or dwelling, state

      all), any email addresses you have maintained in the past 10 years, any phone number you

      have used in the past 10 years, including the corresponding cellular provider.

   6. State whether you have maintained any social media accounts in the past 10 years, if so,

      state which social media platform and provide your username.

   7. State whether you have provided any statements or documentation to Eric Daigle or the

      Daigle Law Group, either directly or indirectly through representatives of Johnson City. If

      so, provide the substance of any such statement or documentation.

   8. State whether you have or have had an ownership interest in any business (sole

      proprietorship, PLLC, LLC, Corporation) in the past 10 years. If so, identify any such

      business, your degree of control or ownership, and if you have any business partners,

      identify those persons.

   9. List all assets in your possession, custody or control that may be used to satisfy a judgment.

   10. For the past 10 years, in your role at JCPD, describe your role in sexual assault

      investigations and what policies and procedures you followed in that role.

   11. For the past 10 years, in your role at JCPD, state and describe your role, if any, in the

      decision to approve reports of investigation involving cases of sexual assault and/or refer

      any such case to the District Attorney’s office. In doing, identify any documents that would

      have been regularly used and any persons involved in any such process.



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                                    IV. DOCUMENT REQUESTS

     1. All DOCUMENTS and COMMUNICATIONS REGARDING Plaintiffs (a key will be

       provided indicating Plaintiff’s identity), including but not limited to, recordings, incident

       reports, statements, and inter- or intra- departmental COMMUNICATIONS in your

       possession.

     2. All DOCUMENTS and COMMUNICATIONS REGARDING SEAN CHRISTOPHER

       WILLIAMS, including but not limited to, recordings, incident reports, statements, and inter-

       or intra- departmental COMMUNICATIONS in your possession.

     3. ALL DOCUMENTS and COMMUNICATIONS REGARDING the search and seizure of any

       evidence in cases involving WILLIAMS, including any drafts of any search or seizure

       warrants      and   their   supporting   affidavits;   any   inter-   or   intra-   departmental

       COMMUNICATIONS regarding the search and seizure warrants or drafts of such warrants

       and their corresponding affidavits; and any chain-of-custody documents or receipts for any

       piece of evidence in any case involving WILLIAMS, including the custodian for any piece of

       evidence, and any inter- or intra- departmental COMMUNICATIONS concerning that

       evidence. This evidence includes Child Sexual Abuse Material (“CSAM”), or child

       pornography as defined by 18 U.S.C. § 2256, and Sexual Abuse Material (“SAM”), or images

       and videos depicting the sexual assault of WILLIAMS’ victims. 1 This request includes any

       data or evidence gathered from the rape kits collected by JCPD from Jane Doe 2, Jane 5 and




 1
   As set forth in the Parties Proposed Protective Order, CSAM and SAM should be treated as
 contraband, and should remain in the custody and control of the relevant law enforcement agency
 which has lawful custody of the material. Accordingly, Plaintiffs request any relevant CSAM or
 SAM relating to this request which is in the custody and control of Defendants be produced in
 redacted form with the original material remaining in Defendant’s custody to be made available for
 in-person review by Plaintiffs’ counsel.

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       Jane Doe 7, as well as other physical evidence such as clothing collected from them. This

       evidence also includes all body camera, video, and other electronic evidence related to,

       recorded during, and collected from the search of WILLIAMS’ apartment on or about

       September 20 and 23, 2020, including all video footage of WILLIAMS’ interview with JCPD

       and any and all interactions with law enforcement.

   4. ALL DOCUMENTS YOU PROVIDED TO, OR MADE AVAILABLE TO, the Daigle Law

       Group in preparation of their July 10, 2023, audit of the Johnson City Police Department’s

       handling of sex related crimes.

   5. Any DOCUMENT OR COMMUNICATION provided in Kat Dahl’s lawsuit, including a

       copy of your deposition transcript.

   6. Any (non-privileged) COMMUNICATIONS or screen shots of text messages that relate or

       refer to the allegations of this lawsuit.

   7. All tax form W-2’s, 1099’s and tax returns filed by you or on your behalf, personally, as a

       member of a trust or other legal entity, or on behalf of any business you have or had an

       ownership interest in for the past 10 years to date.



Dated: January 12, 2024                        Respectfully submitted,

                                               s/ Heather Moore Collins
                                               Heather Moore Collins (#026099)
                                               Ashley Shoemaker Walter (#037651)
                                               HMC Civil Rights Law, PLLC
                                               7000 Executive Center Dr., Suite 320
                                               Brentwood, TN 37027
                                               615-724-1996
                                               615-691-7019 FAX
                                               heather@hmccivilrights.com
                                               ashley@hmccivilrights.com

                                               —and—


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                                  s/ Vanessa Baehr-Jones
                                  Vanessa Baehr-Jones (California Bar #281715)
                                  Pro Hac Vice
                                  Advocates for Survivors of Abuse PC
                                  4200 Park Boulevard No. 413
                                  Oakland, CA 94602
                                  510-500-9634
                                  vanessa@advocatesforsurvivors.com

                                  —and—

                                  s/ Elizabeth Kramer
                                  Julie Erickson (California Bar #293111)
                                  Elizabeth Kramer (California Bar #293129)
                                  Kevin Osborne (California Bar #261367)
                                  Pro Hac Vice
                                  Erickson Kramer Osborne LLP
                                  44 Tehama St.
                                  San Francisco, CA 94105
                                  415-635-0631
                                  julie@eko.law
                                  elizabeth@eko.law
                                  kevin@eko.law

                                  Attorneys for the Plaintiffs




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                                 CERTIFICATE OF SERVICE

I HEREBY certify that a copy of the foregoing has been filed and served via the court's electronic
filing system on January 12, 2024 to counsel of record:

 K. Erickson Herrin                              Daniel H. Rader III
 HERRIN, McPEAK & ASSOCIATES                     Daniel H. Rader IV
 515 East Unaka Avenue                           MOORE, RADER & YORK PC
 P. O. Box 629                                   46 N. Jefferson Avenue
 Johnson City, TN 37605-0629                     P.O. Box 3347
 Email: lisa@hbm-lawfirm.com                     Cookeville, TN 38502-3347
                                                 danrader@moorerader.com
 Emily C. Taylor                                 danny@moorerader.com
 Reid Spaulding                                  Counsel for Kevin Peters in his individual
 WATSON, ROACH, BATSON &                         capacity
 LAUDERBACK, P.L.C.
 P.O. Box 131                                    Kristin Ellis Berexa
 Knoxville, TN 37901-0131                        Ben C. Allen
 Email: etaylor@watsonroach.com                  FARRAR BATES BEREXA
 Email: rspaulding@watsonroach.com               12 Cadillac Drive, Suite 480
                                                 Brentwood, TN 37027-5366
                                                 kberexa@fbb.law
 Attorneys to Defendants, Johnson City,          ballen@fbb.law
 Tennessee, Karl Turner, in his individual and   Counsel for Toma Sparks in his individual
 official capacities, Captain Kevin Peters, in   capacity
 his official capacity, and Investigator Toma
 Sparks, in his official capacity                Keith H. Grant
                                                 Laura Rufolo
                                                 Robinson, Smith & Wells, PLLC
                                                 633 Chestnut Street, Suite 700
                                                 Chattanooga, TN 37450
                                                 E-mail: kgrant@rswlaw.com
                                                 E-mail: lrufolo@rswlaw.com

                                                 Counsel for Justin Jenkins in his individual
                                                 capacity




                                     s/Heather Moore Collins




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